          Case 3:13-cr-04510-JAH                       Document 1322                   Filed 04/18/16            PageID.6653               Page 1 of
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     -..AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                Sheet I



                                              UNITED STATES DISTRICT                                        G-QPlPI 18 'Hit: 1t2
                                                SOUTHERN DISTRICT OF CALIFOR~ll.i
                     UNITED STATES OF AMERICA                                        JUDGMENT I~1i"
                                        v.                                           (For Offenses Commitd On or After Novellll\JlvN, 1987)

                       Christopher Michael Wall -18                                  Case Number: I3-cr-04510-JAH-18

                                                                                     Melissa Bobrow
                                                                                     Defendant's Attorney
    REGISTRATION NO. 46192298

    o
    THE DEFENDANT:
    18I pleaded gUilty to count(s) One of the superseding Indictment.
     o was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Qffense                                                                             Number(s)
18:1962(d); 18:1963,                   Conspiracy to Conduct Enterprise Affairs Through A Pattern of                                        1
1594(d) and 2428(a)                    Racketeering Activity




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
 IV! Count(s)
 ~
                                     . .
                ..;.rem.;.......a....l_nt.ng:;:..._
                                          ...
                                                            -------0----------------­
                                                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is
                                                                     arel8l dismissed on the motion of the United States.
 I8J Assessment: $100.00.

 181 No fine                                        0 Forfeiture pursuant to order filed                                        , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                          13-cr-0451 O-JAH-18
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AO 245B (CASD) (Rev, 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                               Judgment-Page _ _2_ of        4
 DEFENDANT: Christopher Michael Wall -18
 CASE NUMBER: 13-cr-04510..JAH-IB
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Forty-five months




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    18l The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends custody be served in the Western Region.




    o The defendant is remanded to the custody of the United States Marshal.
     o   The defendant shall surrender to the United States Marshal for this district:

           Oat                                    Oa.m.      o   p.m.       on
               as notified by the United States MarshaL

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ----------------------------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                 RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                     to

 at _____________________ , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL

                                                                        By _ _ _ _ _ _~~~~~____- - - - - - - - - - - - ­
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                 13-cr-04510..JAH-IB
        Case 3:13-cr-04510-JAH                      Document 1322                 Filed 04/18/16            PageID.6655               Page 3 of
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AD 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 -" Supervised ReleltiC
                                                                                                               Judgment-Page ----l.- of _ _4:..-_ _
DEFENDANT: Christopher Michael Wall -18                                                                o
CASE NUMBER: 13-cr-04510-JAH-IS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act oflOOO, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o       The defendant shall comply with tlie requirements of the Sex Offender Registration ana Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such rme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit conflscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notiflcation requirement.

                                                                                                                                    13-cr-04S10-JAH-18
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      Continued 2 - Supervised Release

    Defendant: WALL, Christopher Michael


     CASE NUMBER: 13CR04510-018-JAH

                                         SPECIAL CONDITIONS OF SUPERVISION


I. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation
officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.

2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Resolve all outstanding warrants within 90 days.


4. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or
media, and effects and also social media accounts to search at any time, with or without a warrant, by any law enforcement or
probation officer with reasonable suspicion concerning a violation of a condition of probation/supervised release or unlawful conduct,
and otherwise in the lawful discharge of the officer's duties. 18 U.S.c. §§ 3563 (b)(23); 3583 (d)(3).


5. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the Internet
without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that will enable
the probation officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
of installation of the computer software.


6. Provide complete disclosure of personal and business financial records to the probation officer as requested.


7. Consent to third party disclosure to any employer, potential employer, concerning any restrictions (computer use only) that are
imposed by the court.


8. You shall be subject to house arrest for a period of one year. And during that period you are not to leave your home. You are not
to leave your home except for employment, education, schooling for your child, religious activities or medical needs for your child
and your fiancee and yourself. You shall be subject to location monitoring (GPS) as directed by the probation officer. 12:20:08 to the
probation officer. You shall pay one half ofthe cost of the monitoring. With the GPS active monitoring system at the discretion of the
probation officer as to the level of monitoring .


9. Shall not associate with any member, prospect, or associate of the Black MOB/Skanless, or any other gang, or club with a history of
criminal activity, unless given permission by the probation officer.
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                                                                     5




AO       (Rev. 9/00) Judgment in a Criminal Case Sheet 3 - Continued 2 -                Supervised Release
Defendant: WALL, Christopher Michael


CASE NUMBER: 13CR04510-018-JAH

Judgment-Page ~ of         .i

                                           SPECIAL CONDITIONS OF SUPERVISION

10. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim's family, without prior approval of the probation officer.

11. Shall not loiter, or be present in locations known to be areas where known gang members congregate, unless given permission by
the probation officer.

12. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known gang,
unless given permission by the probation officer.

13. Not associate with known prostitutes or pimps and/or loiter in areas frequented by those engaged in prostitution.
